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Action Plan Community Interaction: Section Xil 554
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Notes to the reader:

In this Report, compliance with a policy deadline is determined by the date the PRPD
submitted the policy for review, not the date the policy was approved.

Unless otherwise noted, the training statistics are based on PRPD self-reported data on
the percentage of members of the PRPD trained and certified out of the 13,373 total
members of the PRPD

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Compliance Tables for Professionalization

Action Plan
Section ill. Professionalization

Requirements: 12 to 21

|. Policy and Procedure Development Objectives:

Activity Ii.1.1.4

W144

Catlaborate in the review of the Puerto Rico Police Department Personnel
Regulation (No. 4216} to tailor it to the requirements of the Agreement for the
Sustainable Reform of the Puerto Rico Police Department in relation to the
following matters: promotions, transfers, and responsibilities and duties by
rank.

This policy is part of the Policies and Procedures Compliance Area

Action Plan.
Due Date November 2017
TCA Assessment | See Policies and Procedures Compliance Area Action Plan.
Recommendations
TCA Rating

See Policies and Procedures Compliance Area Action Plan.

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Activity II.1.1.2
HLL 1.2 Review General Order, Chapter 600, Section 617, entitled “Code of

Ethics of the Members of the Puerto Rico Police Department”

Due Date

April 2015

TCA Assessment

The PRPD met the formal requirement to draft the policy.

Recommendations {| The TCA will continue annual reviews in accordance with Agreement
requirements
TCA Rating Timeframe was met. (Note to the reader: In this Report, compliance

with a policy deadline is determined by the date the PRPD submitted
the policy for review, not the date the policy was approved.)

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Plan

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Activity 1.1.1.3
(L.1.1.3 Review General Order No. 2010-12, entitled “Rules and Procedures

for Transfer Transactions of Sworn Personne!” to tailor it to the

requirements of the Agreement for the Sustainable Reform

Due Date

May 2016

TCA Assessment

The PRPD met the formai requirement to draft the policy. However,
the TCA is concerned about the transfer transactions in practice. See
Section fll of the current Report: TCA audit.

Recommendations

The TCA will continue annual reviews in accordance with Agreement
requirements. These reviews will include the findings of the TCA
assessment of 2017.

TCA Rating

Timefrarne was met

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Plan

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Activity {1.1.7.4

lil.1.1.4 Review the Interagency Collaborative Agreement between the PRPD
and the PR Office of Government Ethics signed on March 16, 2015, for
the purpose of joining efforts through SAEA and promoting an
exchange of training opportunities

Due Date July 2016

TCA Assessment | The PRPD met the formal requirement to draft the policy.

Recommendations

The TCA will continue annual reviews in accordance with Agreement
requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity II1.1.7.5

H.1.1.5

Repeal Regulation No. 6644, entitled “Regulation for Promotions Based
on Merit and/or Heroism up to Rank of Captain,” and the "Regulation for
the Administration of Promotion Exams” to develop a new regulation
establishing that written exams will be administered up to the rank of

Captain

Due Date

December 2016

TCA Assessment

The PRPD met the formal requirement to draft the policy. However, the
TCA is concerned about the way in which the PRPD has handled 2015
and 2016 promotions. See Section iil of the current Report.

TCA is concerned about impact of Act 20 and derogation of Act 53.

Recommendations

Continue annual review in accordance with Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity II1.1.1.6
HE. 4.6 Develop General Order establishing the descriptions, functions,

duties, responsibilities, and minimum requirements of sach position
included in the PRPD Rank System.

Due Date

September 2016

TCA Assessment

The PRPD met the formal requirement to draft the policy. However,
the TCA is concerned about the way in which the PRPD has handled
2015 and 2016 promotions. See Section Ill of the current Report.

TCA is concerned about impact of Act 20 and derogation of Act 53.

Recommendations

Continue annual review in accordance with Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Pian

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ll. Training Development Objectives:

Activity liL.ll.1.1

WE. 4.1

Through the Auxiliary Superintendency for Education and Training
(SAEA, Spanish acronym), the PRPD will create a multitopic
Training Program to develop employees’ ethical and
professional judgment and values with the collaboration of
the Office of Government Ethics (OGE), as stipulated in the
Collaborative Agreement between the two agencies. These
training courses will be part of continuing education and wiil be
certified as contact hours by the OGE.

The Program will include, but not be limited to the following topics: (Table 6}
4.1.1. General Order 617: MPRPD Code of Ethics

police ethics and integrity

ethical leadership

ethical attitudes in the workplace

ethical principles in management and supervision (this training

course is contemplated in the Supervision and Management

Compliance Area Action Plan)

4.16 managing emotions for ethical coexistence

1.1.7 community policing principles (this training course is

contempfated in the Community Interaction and Public
Information Compliance Area Action Plan)

1.1.8 techniques to quide and manage MPRPDs in an effective manner
and promote effective and ethical police practices (effective
supervision} (this training is contemplated in the Supervision
and Management Compliance Area Acton Plan), and

1.1.9 Federal and commonwealth non-discrimination laws and PRPD
policy (this training is contemplated in the Equa! Protection
and Non-Discrimination Compliance Area Action Plan).

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Due Date

May 2016

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TCA Assessment

During the period covered by this report, the TCA reviewed
training materials. The TCA approved the training designs
(syllabus) of the topics that will be object of the Multitopic Training
Program.

These trainings were scheduled to begin in February/2017 to
June/2017. However, the PRPD continues in the development
phase of the materials needed for these training.

The TCA highlights that the PRPD has been offering the training
of the General Order 617: MPRPD Code of Ethics (1.1.1). This
policy was developed in compliance with the Agreement.

The PRPD statistics show 87% compliance in Code of Ethics
training. (Note to the reader: In this Report, unless otherwise
noted, the training statistics are based on PRPD self-reported data
on the percentage of members of the PRPD trained and certified
out of the 13,373 total members of the PRPD)

Recommendations

Continue review of training materials in accordance with
Agreement requirements.

TCA Rating

Timeframe was met for 1.1.1 (GO 617 training materials).
Timeframe was not met for 1.1.2 through 1.1.9

The Commonweaith of Puerto Rico is in full compliance with
1.1.1. The Commonwealth of Puerto Rico is in partial compliance
with 1.1.2 through 1.1.9

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TCA Sixth Semi-Annual Report: Appendix 4 2O3}
Activity il.1i.2.1
W.i.2.4 PRPD, through the Auxiliary Superintendency for Education and

Training (SAEA, Spanish acronym), will create a Training
Program for all members of the Promotion Exams Board
to guarantee that promotions in the PRPD are in accordance
with equal employment opportunity principles and non-
discrimination Jaws and comply with the three (3) areas of
educational activities—cognitive, affective, and
psychomotor—necessary to perform successfully the
management and supervisory tasks related to the
requirements of the rank that the candidates aspires to obtain.

The Program will include, but not be limited to, the following topics:
(Table 7)

2.1.1 Agreement for the Sustainable Reform of the Puerto Rico
Police Department

2.1.2 designing exams to measure cognitive activities

2.1.3 drafting questions that will measure knowledge,
comprehension, application, and analysis, and

2.1.4 designing and preparing question banks for each topic that
will be examined.

Due Date Activity was carried out in June 2016. The next dates will be set
once the Superintendent constitutes the Exams Board.
TCA Assessment | The PRPD met the formal requirement cf developing the training

program.

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Recommendations

Continue review of training materials in accordance with
Agreement requirements. The TCA would like to train members
of the Board on the requirements of the Agreement (2.1.1)

TCA Rating

Timeframe was met.

The Commonwealth of Puerto Rico is in full compliance.

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Activity III.11.3.1

H.U.3.4

With the purpose of professionalizing the personnel who perform
supervisory and management tasks, training courses will be developed
to provide them with the resources needed to carry out effective and
direct supervision in accordance with the Constitution and laws of the
U.S. and the Commonwealth of Puerto Rico, and generally accepted
police practices. These training courses are contemplated in the

Supervision and Management Compliance Area Action Plan.

Due Date

n/a

TCA Assessment

This policy is part of the Supervision and Management
Compliance Area Action Plan.

Recommendations

TCA Rating

This policy is part of the Supervision and Management Compliance
Area Action Plan.

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ill. Training Implementation Objectives:

Activity IE.111.1.1
WLU. 1.1 With the purpose of promoting the development of ethical judgment
and their professional development, the PRPD will implement training
courses for all of its employees. In relation to MPRPDs, the training
courses will be focused on police ethics and integrity pursuant to
generally accepted police practices and applicable iaws.
Due Date Within the twelve (12) months following the final approval of the

training material and the incorporation of the recommended changes,
the SAEA will simultaneously train fifty percent (50%) of PRPD
personnel through its certified instructors, with the collaboration of
personnel from Ethical Judgment Development Center (CDPE,
Spanish acronym) at the Office of Government Ethics to develop
ethical and professional standards and values. The remaining fifty
percent (50%) of the PRPD personne! will be trained within the
following tweive (12) months, once the training of the first group has
been completed. Training will begin on the date indicated in the
announcement issued by the SAEA and the training pian provided by
each police area and auxiliary superintendency once approved by
SAEA. (Table 8}

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Training courses will be implemented as indicated in Appendix C —

Training Implementation Process.

TCA Assessment

Except for the training on General Order 617: MPRPD Code of Ethics
(1.1.1), trainings were scheduled to begin between February/2017 to

June/2017. However, the PRPD continues in the development phase
of the materials needed for these training.

GO 617 training is underway. The PRPD statistics show 87%

compliance in Code of Ethics training.

Recommendations

nia

TCA Rating

Timeframe was met for 1.1.1 (GO 617 training materials). Timeframe
for 1.1.2 through 1.1.9 was not met.

Having met the 50% requirement on or before October 2016, the
Commonwealth of Puerto Rico is in full compliance with G.O 617
training. With 87% current compliance, it is well underway to achieve
full compliance by October 2017.

The Commonwealth of Puerto Rico is in non-compliance with 1.1.2
through 1.1.9 during this reporting period.

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Activity II.11.1.2

WAUI.4.2

1.2The PRPD will begin by training MPRPDs who are first
responders and provide direct service to communities:

1.2.1 personnel assigned to Zones of Excellence (SAQC)

1.2.2 Bureau of Drugs, Narcotics, Vice Control, and lilegal Weapons (SAIC)

1.2.3 districts, precincts, and posts (SAOQC)}.

Due Date

Training courses will be implemented as indicated in Appendix C —
Training Implementation Process.

TCA Assessment

Except for the training on General Order 617: MPRPD Code of Ethics
(1.7.1), frainings were scheduled to begin between February/2017 to

June/2017. However, the PRPD continues in the development phase
of the materials needed for these training.

GO 617 training is underway. The PRPD statistics show 87%
compliance in Code of Ethics training.

Recommendations

nla

TCA Rating

Timeframe was met for 1.1.1 (GO 617 training materials). Timeframe
for 1.1.2 through 1.1.9 cannot be assessed.

For SAOC and SAIC, having met the 50% requirement on or before
October 2016, the Commonwealth of Puerto Rico is in full compliance
with G.O 617 training. With 95% and 84% current compliance,
respectively, both SAOC and SAIC units are well underway to achieve
full compliance by October 2017.

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Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with 1.1.2 through 1.1.9 cannot be assessed during this
reporting period.

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Activity IIL. #1.7.3

111.011.1.3 The PRPD will continue training by giving priority to the

MPRPDs who belong to the following Divisions and Units:

1.3.1 Division of Tactical Operations (DTO) (SAOC)

1.3.2 Division of Special Weapons and Tactics (SWAT) (SAOQOC)

1.3.3 Bureau of Highway Patrals (SAOC)

1.3.4 Bureau of Vehicle Theft Investigations (SAIC)

1.3.5 Arrests and Extraditions Division (SAIC)

1.3.6 Force Investigation Unit (FIV) (SARP)

1.3.7 Members of Joint Task Forces (SAIC)

1.3.8 K-9 Division (SAIC)

1.3.9 remaining personnel of the Auxiliary Superintendency for Field
Operations

1.3.10 remaining personnel of the Auxiliary Superintendency for

Criminal Investigations
1.3.11 Auxiliary Superintendency for Professional Responsibility
1.3.12 Auxiliary Superintendency for the La Fortaleza Police, and

1.3.13 Auxiliary Superintendency for Managerial Services

Due Date Training courses will be implemented as indicated in Appendix C -
Training Implementation Process.

TCA Assessment Except for the training on General Order 617: MPRPD Code of Ethics
(1.1.1), trainings were scheduled to begin between February/2017 to
June/2017. However, the PRPD continues in the development phase of
the materials needed for these training.

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GO 617 training is underway. The PRPD statistics show 87%
compliance in Code of Ethics training.

Recommendations

n/a

TCA Rating

Timeframe was met fer 1.4.1 (GO 617 training materials). Timeframe
for 1.1.2 through 1.1.9 cannot be assessed.

Having met the 50% requirement on or before October 2016, the
Commonwealth of Puerto Rico is in full compliance with G.O 617
training. With 87% current compliance, it is well underway to achieve full
compliance by October 2017.

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with 1.1.2 through 1.1.9 cannot be assessed during this
reporting period.

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Activity 1.1.2.1

11.2.1

Through the Auxiliary Superintendency for Education and Training
(SAEA), the PRPD will create a Training Program for all members
of the Promotion Exams Board to guarantee that promotions in the
PRPD are in accordance with equal employment opportunity

principles and non-discrimination laws. (Table 9)

Due Date

The first Exams Board established after the Agreement was trained in
March 2015. The next dates will be 60-90 days after the
Superintendent constitutes a new Promotion Exams Board.

TCA Assessment

The training was adequate fo the Task.

Recommendations

nia

TCA Rating

Timeframe was met.

The Commonwealth of Puerto Rico is in full compliance.

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IV. Implentation Objectives:

Activity Il.1V.1.1

W.M.4.1

The PRPD will establish a working group constituted by a
representative from the auxiliary superintendency and from each
auxiliary superintendent. The leader of the working group will be the
Auxillary Superintendent for Managerial Services, who will be
responsible for developing a work plan that will define the
responsibilities of each member of the working group and allow for
conducting a personnel and resources allocation study that will result
in an effective assignment of the personnel. The purpose of the study
is to consider the appropriate number of personnel in the rank and
classified systems to fulfill the operational and administrative work
necessary to fight crime. The results of the study will heip to
appropriately distribute all PRPD personnel and to group tasks, which
will redound in: reducing costs, hiring and promotion processes,
redirecting work and apprepriately deploying personnel in work units
based on service demands, availability, and the feasibility of the
community policing philosophy. {Table 10)

Due Date

December 2016

TCA Assessment

The PRPD noted in the Plan that they had sufficient internal human
resources and no obstacles were anticipated. However, there was no
commitment from PRPD leadership to get this activity done in a timely
fashion.

The Working Group was constituted last semester, prior to the
compliance date established by the Action Plan.

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The Work Plan of the Working Group team was sent for review
December 2017; and, reviewed and discussed by the TCA in January
2017.

The Working Group drafted the Request for Proposal (RFP)
necessary for the hiring of the consultant that will carry out the study
required in paragraph 13 of the Agreement.

The contract for the consultant that will carry out the study was
executed in April. The selected consultant began to work on the study
in May 2017.

In the last revision of the Professionalization Action Plan, the
compliance date for the delivery of the study was changed to
December 2017.

The TCA understands that the delays in the fulfillment of Paragraph
13 had a negative impact in the decision making in the PRPD. The
completion of the study is essential for the PRPD to improve its level
of compliance with all areas covered by the Agreement.

Recommendations

See Section Ill of the Report

TCA Rating

Timeframe was met.

The Commonwealth of Puerto Rico is in full compliance.

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Activity lLIV.1.2

HIV.71.2 Conduct a study of PRPD human resources, taking into consideration
their status and the operational and administrative work performed by
employees in order to identify existing needs and subsequently in
decision-making. (Table 11)

Due Date December 2017

TCA Assessment The PRPD noted that the study will require a separate budget from

Reform funds once hiring need is reported. This requires obtaining
approval of an expedited process among agencies involved in the
hiring and contract process. TCA is concerned that the current
budget is not available. See Section iil of the Report for more in-
depth analysis.

Recommendations

See Section ill of the Report

TCA Rating

Original timeframe was not met. There is a new deadline. This
deadline is not due yet.

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with !V.1.2 through IV.1.3 cannot be assessed during this
reporting period. However, fhe Commonwealth was in non-
compliance with the original timeframe.

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Activity I1.1V.1.3

ALIV.1.3

The superintendent will make decisions regarding the reassignment of
human resources, the opening of new announcements for promotions,
and/or recruitment of personnel that are consistent with the
community policing principles of equality and non-discrimination and

in accordance with generally accepted police practices based on
service needs so that the PRPD can fulfill its mission. This plan will be
based on the study that will be conducted. (Table 12)

Due Date

December 2017

TCA Assessment

The TCA submits that that the fiscal situation of the government of
Puerto Rico could significantly affect some of the personnel
transactions that may be needed. All additional obstacles will be
identified as part of the evaluation that will be conducted.

Recommendations

See Section IIi of the Report

TCA Rating

Original timeframe was not met. There is a new deadline. This
deadline is not due yet.

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with IV.1.2 through IV.1.3 cannot be assessed during this
reporting period. However, the Commonwealth was in non-
compliance for the original timeframe.

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Activity II.IV.2.1
WIAM.2.4 The superintendent will appoint the members of the Promotion Exams

Board to carry out the procedures related to promotion exams
established by regulation. The PRPD will develop the promotion
exams in consultation with the TCA based on generally accepted
police practices and the applicable federal and state law.

Select and appoint the members of the Promotion Exams Board.
(Table 13)

Due Date

6-12 months prior to the date of the Promotion Exams Announcement
once determined by the superintendent, after considering the needs
and ailocation of fiscal resources for said purpose. The Promotion
Exams Board is constituted by the superintendent while there are
promotion exams scheduled; once the exams are administered, the
Board will be dissolved.

TCA Assessment

For additional information on promotions, see Section IH of the Report

Recommendations

For the recommendations of the TCA regarding promotions, see
Section Ill of the Report

TCA Rating

Timeframe was met.

The Commonweaith of Puerto Rico is in full compliance.

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Activity MIIV.2.2

WLI .2.2

The SAEA will offer consultation for the development and
administration of promotion exams to ensure that they are tailored to
generally accepted learning performance measurement standards. It
will also evaluate performance-related qualifications in accordance
with the needs of the rank, as established in the Agreement for the
Sustainable Reform of the PRPD and in applicable policies and
procedures. (Table 14)

Due Date

The first Exams Board constituted after the Agreement was trained in
March 2015. The next dates will be 60-90 days after the
superintendent constitutes a new Promotion Exams Board.

TCA Assessment

For additional information on promotions, see Section Ill of the Report

Recommendations

For the recommendations of the TCA regarding promotions, see
Section III of the Report

TCA Rating

Timeframe was met.

The Commonweaith of Puerto Rico is in full compliance.

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Activity HLIV.2.3

HILINV.2.3 The Promotion Exams Board will develop the tests for the candidates
to promotion and it will also organize and carry out all activities related
to the administration and scoring of said tests. (Table 15)

Due Date Session !: Sergeant: August 29, 2015

Session 11: Captain and Lieutenant |: October 24, 2015

Session iil: Lieutenant Il: December 5, 2015

The date of the Promotion Exams Announcement will depend on the
needs identified and the fiscal resources allocated for said purpose.
Exams will be completed on the date determined by the Promotion
Exams Board.

TCA Assessment

For additional information on promotions, see Section Ill of the Report

Recommendations | For the recommendations of the TCA regarding promotions, see
Section Ill of the Report
TCA Rating Timeframe was met.

The Commonwealth of Puerto Rico is in full compliance.

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V. Self-Assessment Objectives:

Activity IlI.V.1.1

HHV.4.1 1.1 The PRPD, through the Office of Reform, will use various data

. collection strategies and will conduct periodic, specific, and random

monitoring of the different activities, operations, services,

investigations, and training courses it provides, starting with Zones

of Excellence and gradually continuing through all thirteen (13)

police areas and offices of auxiliary superintendents, such as:

1.1.1. Use the training plan and the training announcement issued
by the SAEA for each of the courses to identify their start
date, the time police areas and the corresponding auxitiary
superintendencies have to complete the training, and the
work units that will be given training priority. The training
plans for each of the thirteen (13) police areas and Auxiliary
Superintendencies, as approved by the SAEA, will also be
considered to check the specific dates during which each
training course identified in this Action Plan will be provided.
The Office of Reform will verify that MPRPDs are
participating in scheduled training courses by using the
above-mentioned sources and the attendance records for
each course.

1.1.2 Making random visits to each of the thirteen (13) police
areas and auxiliary superintendencies using the training
plan approved by the SAEA for each of the training courses

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developed for this Compliance Area in order to guarantee
that PRPD personnel! are being trained in accordance with
the syllabi, instructor handbooks, presentation, and

approved assessment methodology.

1.2 The PRPD, through the Office of Reform, will use various data
collection strategies and conduct periodic, specific, and random
monitoring of the different activities, operations, services,
investigations, training courses it provides, such as:
1.2.1 On an annual basis, compiling a random sample of
data from the Human Resources System and comparing it
to the data obtained from the reports of the auxiliary
superintendencies to ensure that the System is maintained
up-to-date with transfers and new assignment of duties.

1.2.2 Monitoring the distribution of personnel as they were
reassigned by visiting the various work units.

1.2.3. Compiling information about personnel who are about to
retire or resign to determine vacancy needs.

1.3 Ona biannual basis, compiling a random sample of the work MPRPDs

are carrying out to make sure they are performing the duties

corresponding to their ranks. (Table 16)

Due Date Ongoing, Not applicable

TCA Assessment The PRPD Report adequately documents PRPD’s self-assessment
process. PRPD must review more closely the reliability of data to be
used in the paragraph 13 study. li should also more closely monitor
data from the evaluation of 2015 and 2016 promotions.

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Recommendations | See Section | of the Report.

TCA Rating Timeframe is not applicable

The Commonwealth of Puerto Rico is in partial compliance.

VI. Budget:

TCA Assessment: no applicable

VII. Revision of the Action Plan:

TCA Assessment: no applicable

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Compliance Tables for Use of Force

Action Plan

Section IV. Use of Force: Internal Controls and Accountability

Compliance Area Summary:

TCA Assessment: no applicable

I. Policy and Procedure Development Objectives:

Activity 1V.1.1.1
M44 Review General Order, Chapter 600, Section 603, entitled “Use and
Handling of Impact Weapons.” (Table 1}
Due Date February 2015

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TCA Assessment

General order Chapter 600, Section 603 Use and Management of
impact Weapons was approved by the Superintendent on January 31,
2015.

To Date, 91% of members of the department have been trained based
on PRPD's self-reported data.

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements
TCA Rating Timeframe was met

The Commonweaith of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.2

1.2

Review General Order, Chapter 600, Section 604, entitled “Use and
Handling of Chemical Agents.” (Table 2)

Due Date January 2015

TCA Assessment General Order Chapter 600, Section 604 Use and management of
Chemical Agents was approved by the Superintendent on March 27,
2015.
To date, 90 % of members of the department have been trained

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating Timeframe was met

The Commonwealth of Puerto Ricco is in full compliance with this step
of the Action Plan

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Activity IV.i.1.3

IV.1.1.3

Develop General Order to establish the Force Review Boards. (This
policy became General Order, Chapter 500, Section 502, entitled
“Creation of Force Review Boards of the Puerto Rico Police
Department”). (Table 3)

Due Date

July 2015

TCA Assessment

General Order Chapter 500, Section 502 creating review Boards to
Evaluate Incidents of Use of Force by PRPD Members was approved by
Superintendent on July 16, 2015.

To date, all board members have been trained by the PRPD Academy,
including non-voting legal advisors.

Recommendations

The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.4

IVI. 1.4

Review General Order 2004-3 entitled “Rules and Procedures for the
Use, Carrying, Maintenance, Changing, Seizure, Reassignment, and
Disposal of Police Service Weapons’ to turn it into the General Order
entitled “Use and Handling of Service Weapons.” (This policy was
partially repealed by General Order, Chapter 600, Section 618, entitled
“Use and Handling of Service Weapons.” The section on rearming

remains in effect.) (Table 4)

Due Date

July 2015

TCA Assessment

General Order Chapter 600 Section 617 Use and management of
Regulation Firearm was signed by Superintendent on June #, 2015

Recommendations

The TCA will continue annual review pracess in accordance with
Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.5

N.L415

Review General Order, Chapter 600, Section 602, entitled “Use and
Handling of Electronic Control Weapon.” (Table 5)

Due Date December 2014

TCA Assessment | General Order Chapter 600, Section 602, Use and Management of
Eiectronic Control Device was approved by the Superintendent on April
10, 2015.
Training and retraining commenced on November 30, 2015.
To date, 87% of members of the department have been trained.

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating Timeframe was met

The Commonweaith of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.6

M116 Review General Order, Chapter 600, Section 601, entitled “Rules for
the Use of Force by MPRPDs’ to incorporate the recommendations of
the TCA and USDO4J. (Table 6)

Due Date April 2015

TCA Assessment PRPD prepared General Order Chapter 600, Section 601, Use of

Force. The policy was approved and signed by the Superintendent.

To date 83% of members of the department have been trained on the
policy

Recommendations

The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Plan

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Activity IV.1.1.7

IV.1.1.7

Review General Order, Chapter 600, Section 605, “Report and
Investigation of Use-of-Force Incidents by Members of the Puerto Rico
Police Department” to incorporate the recommendations of the TCA and
USDOJ. The PRPD established in this Policy the disclosure of
information to the members of the families of the civilians involved in an

incident where there was use of force. (Table 7)

Due Date April 2075

TCA Assessment | General Order Chapter 600, Section 605, Reporting and Investigating
Use of Force Incidents by PRPD Members was approved by the
Superintendent on June 7, 2015.
To date 90% of members of the department have been trained on the
policy

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.8

IV.1.1.8

Develop General Order to Create Force Investigation Unit (FIU}. (This
policy became Genera! Order, Chapter 100, Section 113, entitled
“Force Investigation Unit (FIV)."} (Table 8)

Due Date June 2015

TCA Assessment PRPD drafted General Order Chapter 100, Section 113, creation of
Force Investigating Unit (FIU).
The members of FIU have been selected. To Date: 100% of FIU
personnel have been trained on use of force policies (GO Chapter 800,
Sections 601 & 605), all have been trained in force related policies.

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Pian

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Activity IV.1.4.9

V.1.1.9

Review General Order 73-4 entitled “Rules and Procedures for the
Tactical Operations Unit.” The Order will include the requirements for
eligibility and permanence in specialized units, as well as the
recruitment and selection processes that must be followed. It will aiso
include the requirement of documenting activities related to
mobilizations and/or activations, as well as the reporting requirement
after they are carried out. (This General Order was repealed by
General Order, Chapter 100, Section 112, entitled “Reorganization of
Tactical Operations Units.”) (Table 9)

Due Date

July 2015

TCA Assessment

General Order Chapter 100, Section 112, Reorganization of the
Tactical Operations Division (DOT) was approved by the
Superintendent on January/2016.

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements
TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Plan

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Activity IV.1.1.10

V.1.1.1.10

Develop the General Order for the Mobilization of the Division of Special
Weapons and Tactics (SWAT). The Order will include the requirements
for eligibility and permanence in the Division, as well as the recruitment
and selection processes that must be followed. it will also include the
requirement of documenting activities related to mobilizations and/or
activations, as well as the reporting requirement after they are carried
out. (This policy became General Order, Chapter 100, Section 117,
entitled “Reorganization of the Division of Special Weapons and Tactics
(SWAT).”) (Table 10)

Due Date

August 2015

TCA Assessment

General Order 100, Section 11, Reorganization of the Division of Special
Weapons and Tactics (SWAT) was approved by the Superintendent on
January/2016,

Recommendations

The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating

Timeframe was met

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the Action Plan

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Activity IV.1.1.11

V.11.11

Develop General Order for the Use of Less-Lethal Munitions and Any
Other Technology. {This policy became General Order, Chapter 600,
Section 620, entitled "Rules and Procedures for the Use of Specialized
Weapons by Members of the Specialized Tactical Units (STUs).”}
(Table 11)

Due Date

October 2015

TCA Assessment

PRPD drafted General Order Chapter 600, Section 620, Procedure for
the Use of intermediate and Specialized Weapons (less than lethal).
The policy went in to effect in February of 2016.

Recommendations

The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Plan

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Activity 1V.1.1.12

IV.L4.12 Develop General Order for Crowd Control and Incident Management.
(This policy became General Order, Chapter 600, Section 625, entitled
“Crowd Control and Management.”) (Tabie 72)

Due Date October 2015

TCA Assessment | The policy was signed by the Superintendent April/2016

Recommendations

The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.13

M.LT13 Review General Order, Chapter 600, Section 607, entitled “Rules to
Initiate and Manage Foot Pursuits by Members of the PRPD.” (This
General Order became General Order, Chapter 600, Section 623,
entitled “Rules for the Management of Police Pursuits.”)

Due Date November 2015

TCA Assessment Incorporated into the Vehicle Pursuit policy.

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements. See 1.14 (Signed by the Superintendent
March/2016}

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this step
of the Action Plan

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Activity IV.1.1.14

IV.11.14 Review General Order, Chapter 600, Section 609, entitled “Driving
Vehicles in Emergency Situations and Police Pursuits.” (This General
Order became General Order, Chapter 600, Section 623, entitled “Rules
for the Management of Police Pursuits.”) (Table 14)

Due Date November 2015

TCA Assessment

Signed by the Superintendent March/2016. Expanded to include foot
pursuits.

Recommendations

The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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Activity IV.1.1.15

IV.11.18 Protacol to Regulate K-9 [Officers] in Patrolling Duties. This policy
became General Order, Chapter 100, Section 116, entitled
“Reorganization of the K-9 Division.” (This GO repealed GO 2010-5,
entitled “Reorganization of the K-9 Division and Creation of the K-9
Training Center.”). (Table 15)

Due Date September 2015

TCA Assessment | Signed by the Superintendent January 2016

Recommendations | The TCA will continue annual review process in accordance with
Agreement requirements

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

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il. Data Collection and Reporting Objectives:
Activity IV.11.4.1

IVA11 Develop an information sub-system for the compilation and monthly

review of use-of-force incidents using the Criminat incidence [Data]
Collection Information System as a reference. The printed forms used
for said purposes, such as Form PPR-854, Use of Force, and Form
PPR-877, Supplementary Report, will also be considered. The
instrument will document, among other things, a detailed description of
the incident and the acts that Jed to the use of force, any injury to an
arrestee or allegation of excessive use of force, and the measures taken
to treat the injured. Likewise, any MPRPD who is involved in a use-of-
force incident will be under the obligation to notify his or her supervisor
immediately unless exigent circumstances exist.

This sub-system will be contemplated in the Criminal incidence
Data Collection System included in the Equal Protection and
Non-Discrimination Action Plan. Said sub-system will be
initially implemented in Zones of Excellence and gradually in all
work units, as established in the Information Systems and
Technology Compliance Area Action Plan. (Table 16)

Due Date 12 months (once NIBRS and any other policies affecting System are
ready) (Approximate date: January 2017)

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TCA Assessment

This activity is part of the Information Technology Compliance Area
Action Plan.

The TCA has provided technical support to the PRPD in the
development of informational sub-systems, data collection methods, and
practical implementation of forms.

The TCA has monitored the implementation of the NIBRS policy and the
subsequent development of the sub-system. Sub-system developed in
2016 and is currently operational.

Compliance with activity will depend on the Commonwealth's ability to
implement contracts executed to develop the crime data collection
system mentioned in the Equal Protection and Non-Discrimination Action
Plan, since several modules or instruments, such as the one mentioned
here, will have to be developed together with system. The TCA continue
to have concerns about the ability of the Commonwealth to execute
these contracts. They should have been executed on or before January
2017.

Recommendations

TCA Rating

This activity is part of the Information Technology Compliance Area
Action Plan. See rating there.

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Activity IV.1L1.2

MAL 1.2

Develop an information sub-system for the collection and monthly review
of information on the activation and mobilization of specialized tactical
units (STUs) that will include operational plans and subsequent reports.
This sub-system will be contemplated in the Criminal Incidence Data
Collection System included in the Equal Protection and Non-
Discrimination Action Plan. Said information sub-system will be
initially implemented in the Police Areas in which the Zones of
Excellence are found and gradually in ail other Police Areas, as
established in the Information Systems and Technology Compliance
Area Action Plan. (Table 17)

Due Date

12 months (once NIBRS and any other policies affecting System are
ready} (Approximate date: January 2017)

TCA Assessment

This activity is part of the Information Technology Compliance Area
Action Plan.

Recommendations

With the NIBRS policy in effect, the PRPD should focus on their ability to
implement the data collection system contracts.

TCA Rating

This activity is part of the information Technology Compliance Area
Action Plan. See rating there.

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tll. Review and Investigation Objectives:

Activity 1V.01.7.1

M14

PRPD supervisors must complete the reviews and investigations on use
of force within no more than five (5) business days pursuant to the
provisions of General Order, Chapter 600, Section 605, entitled “Report
and Investigation of Use-of-Force incidents by Members of the Puerto
Rico Police Department,” in order to determine whether the conduct of
the MPRPDs was justified or in keeping with the corresponding policies

and procedures. {Table 18)

Due Date

12 months (once NIBRS and any other policies affecting the System are
ready} (Approximate date: January 2017)

TCA Assessment

The TCA Core Team continues to conduct site visits to ensure progress
is being made towards implementation in the field.

The TCA is also checking that all Use of Force Reports are maintained
on file at SARP/FIU.

The PRPD Reform Units reports they conduct similar activities

Recommendations

The TCA will continue review in accordance with Agreement
requirements

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TCA Rating

Timeframe was not met

Compliance rating could not be determined for this activity based on the
fact that there is not enough data.

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Activity IV.111.1.2

IMA. 1.2

The PRPD will use the information sub-system for the collection and
monthly review of use-of-force incidents so that use-of-force incidents,
the reviews and investigations of said incidents, and the information on
the activation and mobilization of the specialized tactical units (STUs)
can be tracked in a reliable and precise manner. This sub-system is
included in the Equal Pretection and Non-Discrimination Action
Plan; it will be initially inplemented in Zones of Excellence and gradually
in all work units, as established in the Information Systems and

Technology Compliance Area Action Plan.

The PRPD will perform a complete analysis of use-of-force
incidents on a yearly basis to identify significant trends. This
analysis will help correct the deficiencies that are identified,
pursuant to generally accepted police practices, the public policy
of the Agency, and federal and state law. (Table 19)

Due Date

June 2015

TCA Assessment

Given the IT component necessary to carry out this task, PRPD has not
developed a formal method.

Recommendations

The TCA will continue review in accordance with Agreement
requirements.

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TCA Rating Timeframe was not met

Compliance rating could not be determined for this activity

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Activity IV.II1.1.3

IV.HET.3 Perform a study to determine the number of supervisors needed
to comply with the requirement. This activity will be part of the
Professionalization Action Plan.

Due Date December 2017

TCA Assessment | This activity will be part of the Professionalization Action
Plan.

Recommendations

TCA Rating This activity will be part of the Professionalization Action Plan.

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IV. Training Development Objectives:

Activity IV.1V.1.1

IV.IV.1.4

Review Training on the Use and Handling of Impact Weapons. (Table
20)

Due Date

Designing training courses corresponding to policies will begin once
the policy has been approved and signed in accordance with the
process established in Appendix B — Training Design Development
Process.

TCA Assessment

PRPD drafted the training module for impact weapons on June 30,
2015.

The module has been reviewed by the TCA and approved.

To date: 91% have been trained

Recommendations

The TCA will continue te review training development in accordance
with Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.2

Develop Training on the Use and Handling of Chemical Agents. (Table

IV.IV.1.2 21)

Due Date Designing training courses corresponding to policies will begin once
the policy has been approved and signed in accordance with the
process established in Appendix B — Training Design Development
Process.

TCA Assessment The TCA had reviewed and approved the module. General Order

Chapter 600, Section 604, Use and Management of Chemical Agents
was approved by the Superintendent on March 27, 2015.

Field training of personnel began on November 22, 2015.

To date: 90% have been trained

Recommendations

The TCA will continue to review training development in accordance
with Agreement requirements

TCA Rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.3

IV.IV.1.3

Develop Training Program for Members of the Force Review Board
and the Superintendent's Force Review Board (SFRB). (Table 22)

Due Date

Designing training courses corresponding to policies will begin once
ihe policy has been approved and signed in accordance with the
process established in Appendix B — Training Design Development
Process.

TCA Assessment

The TCA has reviewed and approved the module. As of December,
2015, 100% of the board members were trained, as well as the non-
voting legal advisors.

Since that date, additional members have been added to the board to
replace members on the boards, they have all received the required
training.

Recommendations

The TCA will continue to review training development in accordance
with Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step.

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Activity IV.1V.1.4

IV.1V.1.4 Review Training on the Use and Handling of Service Weapons. The
Training Action Plan will include the mechanism to be used by the
SAEA to record and update who has taken the firearm training
courses. (Table 37)

Due Date Designing training courses corresponding to policies will begin once

the policy has been approved and signed in accordance with the
process established in Appendix B ~ Training Design Development
Process.

TCA Assessment

Training is ongoing on the following schedule: Jan-March Night-
Training, April-September Day-Training. Oct-Dec Rifle Training
Firearms training is a yearly requirement.

It is expected that by the end of year all officers will have completed
required firearms training.

Recommendations

The FCA will continue to review training development in accordance
with Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in partiai compliance with this
step

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Activity IV.iV.1.5

IV.NV.1.5

Review Training on the Use and Handling of Electronic Control
Weapon. (Table 24)

Due Date

Designing training courses corresponding to policies will begin once
the policy has been approved and signed in accordance with the
process established in Appendix B — Training Design Development
Process.

TCA Assessment

The module has been approved by the TCA. General Order Chapter
600, Section 602, Use and Management of Electronic Control Device
was approved by the Superintendent on April 10, 2015. Training and
retraining commenced on November 30, 2015. During site visits it was
confirmed that all supervisors were equipped with Tasers along with
some selected agents. PRPD at this time has a limited number of
Tasers

Recommendations | The TCA will continue to review training development in accordance
with Agreement requirements
TCA rating Timeframe was met

The Commonwealth of Puerto Rico is in full cornmpliance with this step

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Activity IV.IV.1.6

Review Training on Use-of-Force Rules and Report and Investigation of

IV.V.1.6 Use-of-Force Incidents by Members of the Puerto Rico Police
Department. (Table 25)

Due Date Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B — Training Design Development Process.

TCA Assessment | The module has been approved by the TCA. PRPD has prepared

General Order Chapter 600, Section 601, Use of Force. The policy has
been approved and signed by the Superintendent.

Recommendations

The TCA will continue to review training development in accordance with
Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.7

IM.AV.1.7 Develop Training for the Force Investigation Unit (FIU). (Table 26)

Due Date Designing training courses corresponding to policies will begin once
the policy has been approved and signed in accordance with ihe
process established in Appendix B — Training Design Development
Process.

TCA Assessment

The TCA has completed his review of the module and it has been
approved. The members of FIU have been selected. To Date: one
hundred (100) percent of FIU personnel have trained on use of force
policies (GO Chapter 600, Sections 601 & 605), all have been trained
in force retated policies.

in June /2016 FIU personnei began and completed training at the
PRPD Academy on crimina! investigations.

Recommendations

The TCA wiil continue fo review training development in accordance
with Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.8

IV.IV.1.8

Develop Multi-topic Training on the Mobilization of the Tactical
Operations Unit. (Table 27)

Due Date

Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B — Training Design Development Process.

TCA Assessment

The module has been approved by the TCA. The General Order policy
has been finalized by PRPD with the approval of the TCA. The policy
went in to effect in February of 2016.

Recommendations

The TCA will continue to review training development in accordance with
Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.9

IV.V.1.9 Develop Multitopic Training on the Mobilization of the Division of
Special Weapons and Tactics (“SWAT”). (Table 28)

Due Date Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B — Training Design Development Process.

TCA Assessment | The Module has been developed by PRPD and approved by the TCA.

Recommendations

The TCA will continue to review training development in accordance with
Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.10

IV.IV.1.40 Develop Training on Special Weapons by Members of the Specialized
Tactical Units (STUs). (Table 29)

Due Date Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B — Training Design Development Process.
TCA Assessment | The training has been developed by PRPD and approved by the TCA

Recommendations | The TCA will continue to review training development in accordance with
Agreement requirements

TCA rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.1V.1.11

M.IM.1.11

Develop Training on Crowd Control! and Management for MPRPDs and
Specialized Tactical Units (STUs). (Table 30)

Due Date

Designing training courses corresponding to policies will begin once
the policy has been approved and signed in accerdance with the
process established in Appendix B — Training Design Development
Process.

TCA Assessment

The PRPD has developed the training module and it has been
approved by the TCA

Recommendations

The TCA will continue to review training development in accordance
with Agreement requirements

TCA rating

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.12

Develop Training on Rules for the Management of Police Pursuits.
IVAV.1,12 (Table 31)

Due Date Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B — Training Design Development Process.

TCA Assessment | This has been incorporated into the Vehicle Pursuit Training Module

Recommendations | The TCA will continue to review training development in accordance with
Agreement requirements

TCA rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.71.13

Develop Training on Driving Vehicles in Emergency Situations and

W.AV.1.13 Police Pursuits. (Table 32)

Due Date Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B— Training Design Development Process.

TCA Assessment | The PRPD has developed the training module and it has been approved
by the TCA

Recommendations | The TCA will continue to review training development in accordance with
Agreement requiremenis

TCA rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.IV.1.14

Develop Training for Patrol Dog Handlers. (Table 33)
IV.IV.4.14

Due Date Designing training courses corresponding to policies will begin once the
policy has been approved and signed in accordance with the process
established in Appendix B — Training Design Development Process.

TCA Assessment | The PRPD has developed the training module and it has been approved
by the TCA,

Recommendations | The TCA will continue to review training development in accordance with
Agreement requirements

TCA rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step

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Activity IV.1V.1.15

Develop Training on the Use and Management of the Automated

IV.IV.1.15 System to Prepare Electronic Incident Reports. This activity will be
carried out pursuant to the Equal Protection and Non-Discrimination
Action Plan.

Due Date Designing training courses corresponding to policies will begin once

the policy has been approved and signed in accordance with the
process established in Appendix B — Training Design Development
Process.

TCA Assessment

Not completed as of this time

Recommendations

TCA rating

This activity will be carried out pursuant to the Equal Protection and
Non-Discrimination Action Plan. See Action Pians for rating.

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V. Training Implementation Objectives

Activity IV.V.1.4

MV.V.1.4

To continue with professionalization, achieve a reduction in use-of-force
incidents and equality in the provision of services, and restore the
community's trust, the PRPD will implement training, new policies and
procedures, equipment, technologies, and operational and
administrative strategies.

Due Date

Within the twelve (12) months following the final approval of the training
material and the incorporation of the changes recommended, the SAEA
will have its certified instructors simultaneously train fifty percent (50%)
of MPRPDs. The remaining fifty percent (50%) of the MPRPDs will be
trained within the following twelve (12) months, once the training of the
first group has been completed. Training will begin on the date indicated
in the Announcement issued by the SAEA and the Training Plan
provided by each Police Area and Office of the Assistant Superintendent
upon SAEA approval.

TCA Assessment

Assessment is not applicable here, but rather in each invidual step.

Recommendations

n/a

TCA Rating

n/a

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NV.V.1.4a

Training on the Use and Handling of Impact Weapons.

Due Date

Session #1: fwelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first group.

TCA Assessment

The TCA has been monitoring PRPD’s training schedules and monthly
statistical reports on training.

To date: 91% have been trained

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe was met for phase I.

Having met the 50% requirement on or before September 2016, the
Commonwealth of Puerto Rico is in partial compliance. With 91% current
compliance, it is well underway to achieve full compliance by October
2017.

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Training on the Use and Handling of Chemical Agents.

W.V.1.1b

Due Date Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first
group.

TCA Assessment The TCA has been monitoring PRPD's training schedules and monthly

statistical reports on training.

To date, 90 % of the department have been trained

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe was met for phase I.

Having met the 50% requirement on or before November 2016, the
Commonwealth of Puerto Rico is in partial compliance. With 91%
current compliance, it is well underway to achieve full compliance by
November 2017.

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MYV.1.1¢

Training for the Force Review Board and the Superintendent’s Force
Review Board (SFRB).

Due Date One hundred percent (100%) of members of FRBs and SFRB will be
trained within tweive (12) months following training design process and
approval and incorporation of recommendations.

TCA Assessment The TCA has been monitoring PRPD’s training schedules and monthly

statistical reports on training.

The TCA has reviewed and approved the module. As of December,
2015, 100% of the board members were trained, as well as the non-
voting legal advisors.

Since that date, additional members have been added to the board to
replace members on the boards, they have all received the required
training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe was me for phase |.

The Commonwealth of Puerto Rico is in full compliance with this
detailed step.

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TCA Sixth Semi-Annual Report: Appendix 4 707

IV.V.1.1d

Training on Use and Handling of Service Weapons. The Training
Action Plan will include the mechanism to be used by the SAEA to

record and update who has taken the firearm training courses.

Due Date

Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first group.

TCA Assessment

The TCA has been monitoring PRPD’s training schedules and monthly
statistical reports on training.

It is expected that by the end of year ail officers will have completed
required firearms training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe: not yet due

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with 1.1.2 through 1.1.9 cannot be assessed during this
reporting period.

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W.V.1.de

Training on the Use and Handling of Electronic Controi Weapon.

Due Date

Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first group.

TCA Assessment

The TCA has been monitoring PRPD's training schedules and monthly
statistical reports on training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe was met for phase 1.

Having met the 50% requirement on or before December 2016, the
Commonwealth of Puerto Rico is in partial compliance. With 87% current
compliance, it is well underway to achieve full compliance by December
2017.

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IV.V.1.4f

Training on Use-of-Force Rules and Investigation of Use-of-Force

Incidents by Members of the Puerto Rico Police Department.

Due Date Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first group.

TCA Assessment | The TCA has been monitoring PRPD’s training schedules and monthly
statistical reports on training.

Recommendations | TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating Timeframe: not yet due

Whether the Commonwealth of Puerto Rico is in fuil, partial, or non-
compliance cannot be assessed during this reporting period.

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TCA Sixth Semi-Annual Report: Appendix 4 BOR

IV.V.1.1g

Training for Force Investigation Unit (FIU).

Due Date One hundred percent (100%) of FIU members will be trained within
twelve (12) months following training design process and approvai and
incorporation of recommendations.

TCA Assessment The TCA has been monitoring PRPD’s training schedules and monthly
statistical reports on training.

Recommendations {| TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating Timeframe was met.

The Cammonwealth of Puerto Rice is in full compliance with 100% of
FIU members trained.

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Multi-topic Training on Mobilization of Tactical Operations Unit.

IV.V.1.1h

Due Date Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first
group.

TCA Assessment The TCA has been monitoring PRPD’s progress. To date PRPD has

complied with the requirement outlined in the Action Pian and the
Agreement.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe: net yet due

Whether the Commonwealth of Puerto Rico és in full, partial, or non-
compliance cannot be assessed during this reporting period.

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Multi-topic Training on Mobilization of Division of Special Weapons and

VV. Tactics (SWAT).
Due Date Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first group.
TCA Assessment | The TCA has been monitoring PRPD’s training schedules and monthly

statistical reports on training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe: not yet due x

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period.

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MV.1.1j

Training on Special Weapons by Members of the Specialized Tactical
Units (STUs).

Due Date One hundred percent (100%) of STU members will be trained within
twelve (12} months following training design process and approval and
incorporation of recommendations.

TCA Assessment | The TCA has been monitoring PRPD’s training schedules and monthly

statistical reports on training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe: not yet due

Whether the Commonwealth of Puerto Rico is in full, partial, or nen-
compliance cannot be assessed during this reporting period.

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V.V.1.1k

Training on Crowd Control and Incident Management for MPRPDs and
Specialized Tactical Units (STUs).

Due Date

Session #1; twelve (12) months after completion of training design
process and approval and incorporation of recommendations, starting
with SWAT and TO as priority groups and, then, the remaining
MPRPDs.

Session #2: twelve (12) months after completion of training of first group.

TCA Assessment

The TCA has been monitoring PRPD's training schedules and monthly
statistical reports on training.

Recommendations | TCA will continue to review training implementation in accordance with
Agreement requirements
TCA Rating Timeframe: not yet due

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period.

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Training on Rules for the Management of Police Pursuits.

IV.V.1.11
Due Date Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first group.
TCA Assessment | Vehicle/Foot Pursuit incorporated into one policy. The TCA has been

monitoring PRPD’s training schedules and monthly statistical reports on
training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe: not yet due

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period.

OFFICE OF THE TECHNICAL COMPLIANCE ADVISOR

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TCA Sixth Serni-Annual Report: Appendix 4 RYL}
V.V.1.4m Training for Patro! Dog Handlers.
Due Date Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first
group.
FCA Assessment | The TCA has been monitoring PRPD’'s training schedules and monthly

statistical reports on training.

Recommendations

TCA will continue to review training implementation in accordance with
Agreement requirements

TCA Rating

Timeframe: not yet due

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period.

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fOL?

IV.V.1.4n

a. Training on the Use and Management of the Automated System

to prepare Electronic Incident Reports. This activity will be

carried out in accordance with the Equal Protection and Non-

Discrimination Action Plan.

1.2 The PRPD will start training MPRPDs who belong to the
following work units:

1.2.1
1.2.2

1.2.3

1.2.4

1.2.5

1.2.6

1.2.7

1.2.8

1.2.9

Members of Joint Forces (SAIC);
Personnel assigned to Zones of Excellence
{SAOC)

Division of Tactical Operations -— DTO
(SAQC)
Division of Special Weapons and Tactics

(SWAT} (SAQC)

Force investigation Unit — FIU (SARP),;
Bureau of Highway Patrols (SAOC);
Motorized Unit (SAOC);

Bureau of Drugs, Narcotics, Vice Control,
and Illegal Weapons (SAIC);

Bureau of Vehicle Theft investigations
(SAIC);

1.2.10 Arrests and Extraditions Division (SAIC).

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1.3 The PRPD will then train MPRPDs who belong to
Districts, Precincts, and Offices of Assistant
Superintendents, taking the following into consideration:

1.3.1. number of incidents per location;

1.3.2 number of incidents of domestic violence;

1.3.3 number of interventions with intoxicated persons;

1.3.4 number of arrests made;

1.3.5 number of tickets from police interventions;

1.3.6 number of complaints filed with the SARP on the
following grounds: assault; use of unjustified violence;
physical and/or psychological coercion; and assauit
against MPR

1.3.7 distance from support units; and

1.1.8 frequency of occurrence of demonstrations (i.e.

mass protests)

Due Date

See Action Plans for Equal protection

TCA Assessment

Currently the Incident Report (PPR-468} is one of the PRPD reports in
the CAD System.

PRPD on or about April 3, 2017 instituted a “Pilot Program” whereby
Utaudo Precinct (7OE) began completing the report digitally however,
officers will still be required to prepare the report by hand.

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Recommendations

Continue review in accordance with Agreement requirements

TCA Rating

Timeframe: not due yet.

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period.

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Vi. Behavioral or Mental Health Crisis Response Objective

Activity IV.V1.1.1

IVVi1.1 Develop General Order for the Crisis Intervention Team (CIT).
Policy now included in the Policy titled: Hostage Negotiator Order #
600-28

Due Date December 2015

TCA Assessment | The CIT Policy was incorporated into the Policy titled: Intervention
Procedure with Persons in Crisis and Hostages Negotiations Policy,
General Order Chapter 600 Section 628, signed by Superintendent
April/2017.
To date, training has not commenced

Recommendations | The TCA will continue to review in accordance with Agreement
requirements

TCA rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan

OFFICE OF THE TECHNICAL COMPLIANCE ADVISOR

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Vil. MPRPD Crisis Intervention Training Development Objective

Activity IV.VII.1.1

IV.VIL1.1

Develop Training for Behavioral or Mental Health Crisis Response for
MPRPDs belonging to the CIT.

Due Date

Session #1: twelve (12} months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first
group.

TCA Assessment

The CIT Policy was incorporated into the Policy titled: Intervention
Procedure with Persons in Crisis and Hostages Negotiations Pelicy,
General Order Chapter 600 Section 628, signed by Superintendent
April 2017.

To Date, no training curriculum has been approved and training has not
commenced

Recommendations

The TCA will continue to review in accordance with Agreement
requirements

TCA Rating

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Plan cannot be determined
during this reporting period

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Activity IV.Vi1.1.2

Within the twelve (12) months following the finai approval of the training

IV.VIl4.2 material and the incorporation of the changes recommended, the SAEA
will simultaneously train fifty percent (60%) of MPRPDs belonging to
the CIT in relation to Behavioral or Mental Health Crisis Response
through instructors it has certified.

Due Date Session #1: twelve (12) months after completion of training design

process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first
group.

FCA Assessment | Policy signed April 2017.

Training has not commenced
Recommendations | The TCA wiil continue to review in accordance with Agreement
requirements

Compliance Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Plan cannot be determined
during this reporting period

OFFICE OF THE TECHNICAL COMPLIANCE ADVISOR

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Activity IV.VII.1.3

IV.VIL4.3

Develop Training on Behavioral or Mental Health Crisis Response for
MPRPDs.

Due Date

Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first

group.

TCA Assessment

Policy creating the position signed by Superintendent April/2017. To
date, training has not commenced

Recommendations

The TCA will continue to review in accordance with Agreement
requirements

Compliance

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Plan cannot be determined
during this reporting period

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Activity IV.VIl.1.4

IMV.VI.1.4

Within the twelve (12) months following the final approval of the training
material and the incorporation of the changes recommended, the SAEA
will simultaneously train fifty percent (50%) of MPRPDs in relation to
Behavioral or Mental Health Crisis Response, as established by the
Agreement for the Sustainable Reform of the PRPD. The remaining fifty
percent (50%) of the MPRPDs will be irained within the following twelve
(12) months, once the training of the first group has been completed.
Training will begin in accordance with the date indicated in the
Announcement issued by the SAIC and the Training Plan provided by
each Police Area and Office of the Assistant Superintendent after SAEA
approval.

Due Date

Session #1: twelve (12) months after completion of training design
process and approval and incorporation of recommendations.
Session #2: twelve (12) months after completion of training of first
group.

TCA Assessment

Policy creating the position signed by Superintendent April/201/7.

To date, training has not commenced.

Recommendations

The TCA will continue to review in accordance with Agreement
requirements

TCA Rating

Timeframe: not due yet

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Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Pian cannot be determined
during this reporting period

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Vill. Self-Assessment Objectives:

Activity IV.VIIl.1.1

The PRPD, through the Office of Reform, will use various data collection
strategies and conduct periodic, specific, and random monitoring of the different
activities, operations, services, investigations, training courses, among others, it
provides, starting with Zones of Excellence and gradually continuing through ail
thirteen (13) Police Areas and Offices of Assistant Superintendents, such as:
(Table 52)

IV.VIIL.1.1a Using the Training Plan and Training Announcement issued by the

SAEA for each of the courses to identify their start date, the time
Police Areas and the corresponding Offices of Assistant
Superintendents will have to complete it, and the work units that will
be given training priority. The Training Plans for each of the thirteen
(13) Police Areas and Offices of Assistant Superintendents, as
approved by the SAEA, will also be considered to check the specific
dates during which each training course identified in this Action Plan
will be offered. The Office of Reform will verify that MPRPDs are
participating in scheduled training courses by using the above-

mentioned sources and the attendance records for each course.

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TCA Sixth Semi-Annual Report: Appendix 4 #00?

Due Date NIA

TCA Assessment During monthly ‘Site Visits” to PRPD Area Commands the TCA Core
Team checks to ensure that PRPD is complying with the above.
Documentation relating to training of personnel as well as training
calendars are reviewed by the TCA Core Team. During these site
visits the TCA Core team is accompanied by Reform Unit Personnel

TCA Rating The TCA will continue to review in accordance with Agreement
requirements

TCA Rating Timeframe is not applicable

The Commonwealth of Puerto Rico is in full compliance.

IV.VIIL1.1b Making random visits to each of the thirteen (13) Police Areas and
Offices of Assistant Superintendents using the Training Plan approved
by the SAEA for each of the training courses developed for this
Compliance Area in order to guarantee that PRPD personnel are being
trained in keeping with the syllabi, instructor handbooks, presentation,
and assessment methodology approved by the Technical Compiiance

Advisor.

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TCA Sixth Semi-Annual Report: Appendix 4 AY?
Due Date N/A
TCA Assessment | During monthly ‘Site Visits” to PRPD Area Commands the TCA Core

Team checks to ensure that PRPD is complying with the above. During
these site visits the TCA Core Team is accompanied by Reform Unit
personnel

Recommendations | The TCA will continue to review in accordance with Agreement
requirements
TCA Rating Timeframe is not applicable
The Commonwealth of Puerto Rico is in full compliance.
NV.VIH.A1.1¢

Visiting SARP to do random evaluations of the files related to use-of-
force incidents in order to determine if they have been prepared and
completed at the work units and are under the custody of the SARP
as established in General Order 605, Chapter 600, Section 605,

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TCA Sixth Semi-Annual Report: Appendix 4 FOU?

entitled “Report and Investigation of Use-of-Force incidents by
Members of the Puerto Rico Police Department.”

Due Date N/A

TCA Assessment The TCA Core Team has conducted “site Visit” to SARP to ensure
compliance with the above. During these site visits the TCA Core
Team is accompanied by Reform Unit personnel.

Recommendations { The TCA will continue to review in accordance with Agreement
requirements

TCA Rating Timeframe is not applicabie
Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Plan cannot be determined
during this reporting period
Making random visits to the districts, precincts, and units to interview

IMV.VIIL1.14

and corroborate whether the Supervisors of the PRPD have performed
use-of-force reviews and investigations to evaluate that they are being

performed in accordance with the provisions of General Order, Chapter

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TCA Sixth Semi-Annual Report: Appendix 4 POL

600, Section 605, entitled “Report and Investigation of Use-of-Force
Incidents by Members of the Puerto Rico Police Department.”

Due Date

N/A

TCA Assessment

During monthly ‘Site Visits” to PRPD Districts and Precinct the TCA
Core Team checks to ensure that PRPD is complying with the above.
During these site visits the TCA Core Team is accompanied by
Reform Unit personnel.

Recommendations

The TCA will continue to review in accordance with Agreement
requirements

TCA Rating Timeframe is not applicable

The Commonwealth of Puerto Rico is in full compliance.

Verifying compliance with the provisions of General Order, Chapter
IVMIIL4.41e

600, Section 602, entitled “Use and Handling of Electronic Control
Weapon’ in relation to the recovery of the data stored in the Electronic
Control Weapon (ECW) during the evaluation of ihe file corresponding
to the use-of-force incident in which an ECW was used.

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TCA Sixth Semi-Annual Report: Appendix 4 ROL?
Due Date N/A
TCA Assessment

Recommendations | The TCA will continue to review in accordance with Agreement
requirements

TCA Rating Timeframe is not applicable

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Plan cannot be determined
during this reporting period

Verify that MPRPDs have completed form PPR-892 — “Electronic

IV.Vill.14F Control Weapon Use Record” registering the arcing test, as established
in General Order, Chapter 600, Section 602, entitled “Use and Handling
of Electronic Control Weapon."

Due Date NYA

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TCA Sixth Semi-Annual Report: Appendix 4 2017
TCA Assessment
Recommendations | The TCA will continue to review in accordance with Agreement

requirements

TCA Rating

Timeframe is not applicable

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with this step of the Action Plan cannot be determined
during this reporting period

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TCA Sixth Semi-Annual Report: Appendix 4 POL?

Compliance Tables for Search and Seizure

Action Pian

Section V. Searches and Seizures: Internal Controls and Accountability

Requirements: 58 to 79

1. Policy and Procedure Development Objectives:

Activity V.1.1.1

V1.4 Review General Order, Chapter 600, Section 615, entitied
“Authority of the Puerto Rico Police Department to Conduct Arrests
and Serve Citations.”

Due Date December 2014

TCA Assessment General Order 600-615 was approved by Superintendent
November 2015.
The TCA conducted the annual review of this general order in
February 2016.

Recommendations The TCA will continue annual reviews in accordance with
Agreement requirements

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
step of the Action Plan

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